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                                                                                                    E-FILED
                                                                       Wednesday, 01 June, 2022 02:38:32 PM
                                                                               Clerk, U.S. District Court, ILCD

                           UNITED STATES DISTRICT COURT
                        IN THE CENTRAL DISTRICT OF ILLINOIS

GRACE O’SHEA                                   )
                                               )
       Plaintiff,                              )
                                               )       Cause No: 4:20-cv-04243-SLD-JEH
vs.                                            )
                                               )
                                               )
AUGUSTANA COLLEGE,                             )
CONOR LARKIN, ERIN LARKIN,                     )       JURY TRIAL DEMANDED
TOM PHILLIS, KYLEE ROSS,                       )
and LAURA SCHNACK,                             )
                                               )
       Defendants.                             )

  PLAINTIFF’S MOTION FOR VOLUNTARY DISMISSAL WITHOUT PREJUDICE
       Plaintiff by and through her attorney, Nicole E. Gorovsky of Gorovsky Law LLC, files

this Motion for Voluntary Dismissal of all of her claims against all parties without Prejudice.

       1. On March 19, 2022, Defendants filed a Motion to Dismiss Plaintiff’s Second

           Amended Complaint and Memorandum in Support (Docs 42 and 43).

       2. Defendants move to dismiss this matter in light of a recent ruling out of the United

           States Supreme Court in Cummings v.Premier Rehab Keller, P.L.L.C., 596 U.S. ___,

           142 S. Ct. 1562 (2022).

       3. After careful consideration of Defendants’ Motion, Plaintiff has chosen to voluntarily

           dismiss all of the claims in this matter against all of the parties.

       WHEREFORE, Plaintiff requests that this Court dismiss Plaintiff’s claims without

       prejudice.




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                                      Respectfully submitted,




                                      /s/ Nicole E. Gorovsky
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                                      ATTORNEYS FOR PLAINTIFF




                                 CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing was served via the United States

District Court for the Central District of Illinois’ CM/ECF electronic filing system on this 1st day

of June 2022 to:

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                                                    /s/ Nicole E. Gorovsky




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